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      Mad Dogg Athletics, Inc.
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  7
  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11   MAD DOGG ATHLETICS, INC.,                       Case No. 2:15-cv-02616-CAS-JCG
      a California corporation,
 12                   Plaintiff,                      Assigned for all purposes to
             v.                                       Judge Christina A. Snyder
 13
      FITNESS MASTER, INC.,                           [PROPOSED] CONSENT
 14   a Texas corporation,                            JUDGMENT
 15                   Defendant.

 16   FITNESS MASTER, INC.,
      a Texas corporation,
 17                   Counter-Claimant,
             v.
 18
      MAD DOGG ATHLETICS, INC.,
 19   a California corporation,
                      Counter-Defendant.
 20
 21         WHEREAS plaintiff, Mad Dogg Athletics, Inc. (“Mad Dogg”), and
 22   defendant, Fitness Master, Inc. (“FMI”) have agreed in a separate agreement to
 23   settlement of the matter in issue between them and to entry of this judgment, it is
 24   ORDERED, ADJUDGED AND DECREED THAT:
 25         1.     Mad Dogg alleged claims for Patent Infringement.
 26         2.     The Court has jurisdiction over the parties in this action and over the
 27   subject matter in issue based on 28 U.S.C. §§ 1331 and 1338(a). The Court further
 28   has continuing jurisdiction to enforce the terms and provisions of the Consent
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  1   Judgment. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c)
  2   and 1400(b).
  3           3.     Mad Dogg is a corporation incorporated under the laws of the State of
  4   California, and has its principal place of business at 2111 Narcissus Court, Venice,
  5   California 90291.
  6           4.     FMI is a Texas corporation having a principal place of business at
  7   11419 Mathis, Suite 200, Farmers Branch, Texas 75234.
  8           5.     FMI has imported, made, used, sold, offered for sale or distributed
  9   certain indoor cycling bikes and denies any wrongdoing or infringement.
 10           6.     Mad Dogg is the owner of U.S. Patent Nos. 6,155,958; 6,468,185;
 11   6,881,178; 7,455,627 and 8,057,364, which were valid and enforceable during their
 12   term.
 13           7.     Mad Dogg is the owner of U.S. Patent Nos. 6,669,603 and 7,419,458
 14   which are valid and enforceable.
 15           8.     Mad Dogg is the owner of U.S. Trademark Registration No. 2,173,202
 16   for the standard word mark, SPIN, which is valid and enforceable, throughout the
 17   United States and which has become incontestible pursuant to 15 U.S.C. § 1065.
 18           9.     The Parties shall bear their own attorneys’ fees and costs.
 19           IT IS SO ORDERED.
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      Dated: November 24, 2015
 21                                               United States District Judge
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  1   Approved as to form and content:
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      By:   /Theodore S. Maceiko/
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      Mad Dogg Athletics, Inc.
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      Dated: November 19, 2015
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  8
  9   BRUCE STONE LLP
 10   WILLENKEN WILSON LOH & DELGADO LLP

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            Chia-li Shih Bruce
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      Attorneys for Defendant
 13   Fitness Master, Inc.
 14   Dated: November 19, 2015
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